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 1   JOSEPH SCHLESINGER, Bar #87692
     Acting Federal Defender
 2   JEFFREY L. STANIELS, Bar #91413
     Assistant Federal Defender
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5   Attorney for Defendant
     LEO MARTINEZ-MARTINEZ
 6
 7                         IN THE UNITED STATES DISTRICT COURT
 8                       FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,            )   No. 2:13-cr-024 GEB
                                          )
11                   Plaintiff,           )
                                          )
12        v.                              )   STIPULATION AND [PROPOSED] ORDER
                                          )   CONTINUING CASE.
13   LEO MARTINEZ-MARTINEZ                )
     MAURISIO ANDRADE,                    )
14                                        )
                     Defendants.          )   Date: February 15, 2013
15                                        )   Time: 9:00 a.m.
     ______________________________       )   Judge: Hon. Garland E. Burrell, Jr.
16                                        )
17        IT IS HEREBY STIPULATED by and among Assistant United States
18   Attorney Olusere Olowoyeye, counsel for Plaintiff, Assistant Federal
19   Defender Jeffrey L. Staniels, counsel for Defendant LEO MARTINEZ-MARTINEZ
20   and acting on behalf of DANIEL KOUKOL, counsel for MAURISIO ANDRADE, that
21   the above case be vacated from this court’s February 15, 2013, calendar,
22   and that it be continued until March 22, 2013, at 9:00 a.m. for status
23   conference.
24        Government Counsel has advised that discovery in the form of several
25   CDs, is being prepared for distribution sometime next week. The time
26   requested is intended to permit review of discovery, consultation with
27   clients, consideration of necessary investigation and motions, and other
28   defense preparation.
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 1        IT IS FURTHER STIPULATED that the interests of justice to be served
 2   by granting this continuance outweigh the interests of the public and of
 3   the defendants in a speedy trial.       Therefore the parties agree that time
 4   for trial should be excluded between February 15, 2013 and March 22,
 5   2013, pursuant to 18 U.S.C. § 3161(h)(7)(b)(iv), Local Code T-4.
 6        IT IS SO STIPULATED.
 7
 8   Dated: February 14, 2013           /s/ Olusere Olowoyeye
                                       Olusere Olowoyeye
 9                                     Assistant United States Attorney
                                       Counsel for Plaintiff
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11
     Dated: February 14, 2013           /s/ Jeffrey L. Staniels
12                                     Jeffrey L. Staniels
                                       Assistant Federal Defender
13                                     Counsel for Defendant
                                       LEO MARTINEZ-MARTINEZ
14
15   Dated: February 14, 2013           /S/Daniel Koukol
                                       Daniel Koukol
16                                     Attorney for Defendant
                                       MAURISIO ANDRADE
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       Stipulation & Order
       Continuing Case                         2
                Case 2:13-cr-00024-TLN Document 13 Filed 02/15/13 Page 3 of 3


 1
 2                                         O R D E R
 3          The above stipulation is hereby accepted.        The court finds that the
 4   interests of justice served by granting this continuance outweigh the
 5   interests of the public and the defendants in a speedy trial.              This
 6   matter is ordered to be dropped from this court’s criminal calendar on
 7   February 15, 2013, and to be re-calendared for March 22, 2013, at 9:00
 8   a.m.
 9
            IT IS SO ORDERED.
10
11   Dated:    February 14, 2013

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13                                        GARLAND E. BURRELL, JR.
                                          Senior United States District Judge
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       Stipulation & Order
       Continuing Case                          3
